Wells Fargo — Ag m7 — 5556

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

  
   

 

 

 

 

 

Deposit Source | Transactions Total Connection to Business
26 $464,890.00 Telegram; Testifying
Witness
3 $15,000.00 Voice Memo between
Freeman and i |
2 $50,000.00 Telegram
] $20,000.00 Telegram: Testifying
Witness
TOTAL $551,290.00
PAYEES
Payee Count Total
Paxos Trust Company 6 -$673,800.00
1 -$204,450.00
TOTAL -$878,250.00

 

As noted in the pleading, the government is taking a conservative approach and not
seeking to include all of the funds involved in
business. The government has only included those individuals that were customers of
Freeman that he shared with
in the forfeiture money judgment, the commission that Freeman actually collected.

$551,290.00 x 10% commission = $55,129.00

$55,129.00 x 29% Freeman cut = $15,987.41

s unlicensed money transmitting

| As explained, the government is only including

 
Summary of Deposit Sources

Wells Fargo CHK 5556

SH BH Reformed Satanic Church (closed)
Time Period: June 2020 - December 2020

 

 

 

 

 

 

 

 

 

 

 

   

 

 

 

   

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

  

 

 

 

 

 

 

 

 

 

 

Deposit Source Count Total Deposited Percentage of Total
Maker Unknown l $103,490.93 8.38%
Bluevine Activity Account 3 $60,000.00 4.86%
Limited Partnership 26 $464,890.00 37.64%
Cash Z $174,200.00 14.10%
7. TE. 3 $15,000.00 1.21%
. 1 $1,400.00 0.11%
Online Transfer CHK 2937 (James Baker) 5 $44,030.00 3.56%
Paxos Trust Company 1 $204,980.00 16.60%
i. i 2 $50,000.00 4.05%
RE. SR UR ceturmed) 1 $12,000.00 0.97%
SBAD Misc Pay 1 $75,100.00 6.08%
. 1 $20,000.00 1.62%
Wire Returned 1 $10,000.00 0.81%
Grand Total 48 $1,235,090.93 100.00%
Summary of Payees
Wells Fargo CHK 5556
SE PR Reformed Satanic Church (closed)
Time Period: June 2020 - December 2020
Payee Count Total Paid Percentage of Total
Accounts Payable General Ledger Wire Returned 1 -$12.000.00 0.97%
Bank Fee 47 -$1,296.30 0.10%
Cumberland Farms 1 -$5.98 0.00%
Legal 1 -$3,000.00 0.24%
Loss Prevention Closing Entry 1 -$73,538.65 5.95%
1 -$204.450.00 16.55%
Online Transfer CHK 2937 (i BED 18 -$254,000.00 20.57%
Paxos Trust Company 6 -$673,800.00 54.55%
Paxos Trust Company (returned) 1 -$10,000.00 0.81%
Withdrawal 1 -$3,000.00 0.24%
Grand Total 78 -$1,235,090.93 100.00%

 

 

as of December 2, 2022

 

 
